            Case 1:12-vv-00154-UNJ Document 59 Filed 08/21/14 Page 1 of 8




                 In the United States Court of Federal Claims
                                     OFFICE OF SPECIAL MASTERS
                                             No. 12-154V
                                          (Not to be published)

*************************
                                  *
The Estate of HENRY NOLDE by and  *
through his son RONALD NOLDE, as  *                              Filed: July 22, 2014
Personal Representative,          *
                                  *
                      Petitioner, *                              Decision by Stipulation; Damages;
                                  *                              Influenza (Flu) Vaccine;Guillain-Barré
               v.                 *                              Syndrome (GBS)
                                  *
SECRETARY OF HEALTH AND           *
HUMAN SERVICES                    *
                                  *
                      Respondent. *
                                  *
*************************


Isaiah R. Kalinowski, Maglio, Christopher & Toale, Washington, DC, for Petitioner.

Tara J. Kilfoyle, U.S. Dep’t of Justice, Washington, DC, for Respondent.

                                  DECISION AWARDING DAMAGES 1

       On March 6, 2012, Petitioner Henry Nolde filed a petition seeking compensation under
the National Vaccine Injury Compensation Program (“the Vaccine Program”). 2 Following Mr.

1
  Because this decision contains a reasoned explanation for my action in this case, it will be posted on the United
States Court of Federal Claims’ website, in accordance with the E-Government Act of 2002, Pub. L. No. 107-347, §
205, 116 Stat. 2899, 2913 (codified as amended at 44 U.S.C. § 3501 note (2006)). As provided by 42 U.S.C. §
300aa-12(d)(4)(B), however, the parties may object to the decision’s inclusion of certain kinds of confidential
information. Specifically, under Vaccine Rule 18(b), each party has 14 days within which to request redaction “of
any information furnished by that party: (1) that is a trade secret or commercial or financial in substance and is
privileged or confidential; or (2) that includes medical files or similar files, the disclosure of which would constitute
a clearly unwarranted invasion of privacy.” Vaccine Rule 18(b). Otherwise, the whole decision will be available to
the public. (Id.)
2
  The National Vaccine Injury Compensation Program is set forth in Part 2 of the National Childhood Vaccine
Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755, codified as amended, 42 U.S.C.A. ' 300aa-10-' 300aa-34
(West 1991 & Supp. 2002). All citations in this decision to individual sections of the Vaccine Act are to 42 U.S.C.A.
' 300aa.
           Case 1:12-vv-00154-UNJ Document 59 Filed 08/21/14 Page 2 of 8



Nolde’s death on March 14, 2012, Ronald Nolde (as personal representative for the estate of
Henry Nolde) was substituted as petitioner, and an amended petition was filed on June 26, 2012.
Petitioner alleges that Henry Nolde suffered Guillain-Barré syndrome (“GBS”) as a result of
receiving an influenza (“flu”) vaccine on November 9, 2011.

        Respondent denies that Henry Nolde’s GBS or any related medical problems were caused
by the receipt of the flu vaccine. Nonetheless both parties, while maintaining their above-stated
positions, agreed in a stipulation filed July 22, 2014 that the issues before them can be settled,
and that a decision should be entered awarding Petitioner compensation.

        I have reviewed the file, and based upon that review, I conclude that the parties’
stipulation is reasonable. I therefore adopt it as my decision in awarding damages on the terms
set forth therein.

        The stipulation awards:

               a) A lump sum of $200,000.00, in the form of a check payable to petitioner as
                  legal representative of the estate of Henry Nolde. This amount represents
                  compensation for all damages that would be available under 42 U.S.C. §300aa-
                  15(a).
Stipulation ¶ 8.

        I approve a Vaccine Program award in the requested amount set forth above to be made
to Petitioners. In the absence of a motion for review filed pursuant to RCFC Appendix B, the
clerk of the court is directed to enter judgment herewith. 3




        IT IS SO ORDERED.

                                                                /s/ Brian H. Corcoran
                                                                   Brian H. Corcoran
                                                                   Special Master




3
  Pursuant to Vaccine Rule 11(a), the parties may expedite entry of judgment by jointly (or separately) filing
notice(s) renouncing their right to seek review.
Case 1:12-vv-00154-UNJ Document 59 Filed 08/21/14 Page 3 of 8
Case 1:12-vv-00154-UNJ Document 59 Filed 08/21/14 Page 4 of 8
Case 1:12-vv-00154-UNJ Document 59 Filed 08/21/14 Page 5 of 8
Case 1:12-vv-00154-UNJ Document 59 Filed 08/21/14 Page 6 of 8
Case 1:12-vv-00154-UNJ Document 59 Filed 08/21/14 Page 7 of 8
Case 1:12-vv-00154-UNJ Document 59 Filed 08/21/14 Page 8 of 8
